
Opinion by Judge McKEOWN; Concurrence by Judge BYBEE; Dissent by Judge CLIFTON.
OPINION
McKEOWN, Circuit Judge:
This case presents yet another challenge to the complex area of state-funded benefits for aliens. In enacting comprehensive welfare reform in 1996, Congress rendered various groups of aliens ineligible for federal benefits and also restricted states’ ability to use their own funds to provide benefits to certain aliens. See 8 U.S.C. § 1601 et seq. As a condition of receiving federal funds, Congress required states to limit eligibility for federal benefits, such as Medicaid, to citizens and certain aliens. For state benefits, such as the Hawaii health insurance program at issue here, Congress essentially created three categories of eligibility. The first category — full benefits — requires states to provide the same benefits to particular groups of aliens, including certain legal permanent residents, asylees, and refugees, as the state provides to citizens. Id § 1622(b). Recipients in this category also benefit from federal funds. Id § 1612(b)(2). The second category — no benefits — prohibits states from providing any benefits to certain aliens, such as those who are in the United States without authorization. Id § 1621(a). The third category — discretionary benefits — authorizes states to determine the eligibility for any state benefits of an alien who is a qualified alien, a nonimmigrant, or a parolee. Id § 1622(a).
Within the third category are nonimmi-grant aliens residing in Hawaii under a Compact of Free Association with the United States, known as COFA Residents.1 Although this group was not eligible for federal reimbursement under the cooperative state-federal Medicaid plan, Hawaii initially included them in the state health insurance plans at the same level of coverage as individuals eligible for federal reimbursement under Medicaid, and Hawaii assumed the full cost of that coverage. Thén, in the face of declining revenues, in 2010 Hawaii dropped COFA Residents from its general health insurance plans and created a new plan with more limited coverage — Basic Health Hawaii — exclusively for COFA Residents and legal permanent residents who have lived in the United States for less than five years. Haw.Code R. § 17-1722.8-1. Hawaii did not adopt a plan for other aliens excluded from federal coverage under the third category.
In this class action suit on behalf of adult, non-pregnant COFA Residents, Tony Korab, Tojio Clanton, and Keben *878Enoch (collectively “Korab”) claim that Basic Health Hawaii violates the Equal Protection Clause of the Fourteenth Amendment because it provides less health coverage to COFA Residents than the health coverage that Hawaii provides to citizens and qualified aliens who are eligible for federal reimbursements through Medicaid. Korab does not challenge the constitutionality of the federal law excluding COFA Residents from federal Medicaid reimbursements. Rather, the claim is that the prior, more comprehensive level of state coverage should be reinstated so that COFA Residents are on equal footing with those covered by Medicaid.
We are sympathetic to Korab’s argument but cannot accept the rationale. The basic flaw in the proposition is that Korab is excluded from the more comprehensive Medicaid benefits, which include federal funds, as a consequence of congressional action. Congress has plenary power to regulate immigration and the conditions on which aliens remain in the United States, and Congress has authorized states to do exactly what Hawaii has done here — determine the eligibility for, and terms of, state benefits for aliens in the narrow third category, with regard to whom Congress expressly gave states limited discretion. Hawaii has no constitutional obligation to fill the gap left by Congress’s withdrawal of federal funding for COFA Residents.
The district court thought otherwise. As Hawaii put it in its brief, “the district court ruled that the [Hawaii] Department [of Human Services] is constitutionally required to set up a state-only funded program that completely ‘fills the void’ created by the Federal Welfare Reform Act’s discrimination against aliens.” We vacate the district court’s grant of a preliminary injunction preventing Hawaii from reducing state-paid health benefits for COFA Residents because Hawaii is not obligated to backfill the loss of federal funds with state funds and its decision not to do so is subject to rational-basis review.
Background
I. The Welfare Reform Act and Aliens
As part of welfare policy reforms enacted in 1996, Congress passed the Personal Responsibility and Work Opportunity Reconciliation Act of 1996 (“the Welfare Reform Act” or “the Act”). Pub.L. 104-193, 110 Stat. 2105 (1996). Title IV of the Welfare Reform Act restricts public benefits for aliens, based on the rationale that aliens should “not depend on public resources to meet their needs, but rather rely on their own capabilities and the resources of their families, their sponsors, and private organizations.” 8 U.S.C. § 1601(2)(A). Congress declared the reforms to be “a compelling government interest” that is “in accordance with national immigration policy.” Id. § 1601(5)-(6).
With regard to federal benefits,2 Congress created two categories of aliens: “qualified aliens,” who may be eligible for federal benefits, and all other aliens, who are ineligible for federal benefits. Id. §§ 1611-13, 1641. “Qualified aliens” are defined as legal permanent residents, asy-lees, refugees, certain parolees, and aliens who fall within other limited categories specified in the statute.3 Id. § 1641(b)-(c). *879The Act renders aliens who are not qualified aliens ineligible for all federal public benefits, with only limited exceptions, such as the provision of emergency medical assistance. Id. § 1611(b).
With regard to state benefits,4 such as Basic Health Hawaii, Congress further subdivided aliens into three categories: one category of aliens who are eligible for any state public benefits (particular qualified aliens, such as refugees, asylees, certain legal permanent residents, veterans and members of the military on active duty), id. § 1622(b); a second category to whom states may not give any benefits at all (aliens who are not qualified aliens, nonimmigrants, or parolees), id. § 1621(a); and a third category for whom Congress authorizes states to make their own eligibility determinations (qualified aliens, non-immigrants, and aliens paroled into the United States for less than a year), id. § 1622(a). In articulating the immigration policy advanced by the Welfare Reform Act, Congress emphasized that a state that “follow[s] the Federal classification in determining the eligibility of ... aliens for public assistance shall be considered to have chosen the least restrictive means available for achieving the compelling governmental interest of assuring that aliens be self-reliant in accordance with national immigration policy.” Id. § 1601(7).
II. Medicaid and Copa Residents
Medicaid is a cooperative state-federal program in which the federal government approves a state plan to fund medical services for low-income residents and then reimburses a significant portion of the state’s expenses in financing that medical care. See Pub.L. No. 89-97, 79 Stat. 286, 348 (1965) (codified as amended at 42 U.S.C. § 1396 et seq.); see also Wilder v. Virginia Hosp. Ass’n, 496 U.S. 498, 502, 110 S.Ct. 2510, 110 L.Ed.2d 455 (1990). Participation by states is voluntary, but in order to receive federal funds, participating states must comply both with the statutory requirements of the Medicaid Act and with regulations promulgated by the Secretary of Health and Human Services. See Alaska Dep’t of Health &amp; Soc. Servs. v. Ctrs. for Medicare &amp; Medicaid Servs., 424 F.3d 931, 935 (9th Cir.2005). In 1993, Hawaii obtained a waiver from compliance with some of the guidelines pursuant to § 1115 of the Social Security Act so that it could create a privatized managed care demonstration project that allows Hawaii to contract with health-maintenance organizations (“HMOs”) for the provision of state health insurance. AlohaCare v. Hawaii Dep’t of Human Servs., 572 F.3d 740, 743 (9th Cir.2009).
Before the Welfare Reform Act, COFA Residents were eligible for federal Medicaid subsidies and received medical services through Hawaii’s state-sponsored managed care plans. The Welfare Reform Act changed the landscape dramatically by rendering nonimmigrants and others ineligible for federal public benefits. As non-immigrants, COFA Residents are thus ine*880ligible for Medicaid.5 For purposes of state benefits, however, nonimmigrants fall within the category of aliens for whom states are authorized to set their own eligibility criteria.
After Congress made nonimmigrants ineligible for federal reimbursement through Medicaid, Hawaii initially continued to provide the same medical benefits to COFA Residents as before, but funded the shortfall exclusively through state funds. The parties agree that COFA Residents received the same benefits as citizens and qualified aliens, but quibble over whether the benefits were technically provided under the same plan.
Citing budget concerns, Hawaii in 2010 dropped COFA Residents and qualified aliens who had resided in the United States for less than five years from the existing managed care plans. The state enrolled them instead in more limited coverage provided by Basic Health Hawaii, a new state plan created exclusively for these two groups. Haw.Code R. § 17-1722.3-1. Benefits under Basic Health Hawaii are limited with respect to physician visits, hospital days and prescription drugs, and recipients do not qualify for the state’s organ and tissue transplant program or its insurance plans covering long-term care services. Id. § 17-1722.3-18-19.
III. Proceedings in the District Court
Korab, a dialysis patient who had been seeking a kidney transplant, sued to stop the diminution in benefits. He alleged that removing COFA Residents from the state’s comprehensive insurance plans and enrolling them instead in Basic Health Hawaii constituted discrimination based on alienage in violation of the Equal Protection Clause of the Constitution and in violation of the Americans with Disabilities Act (“ADA”). Korab sought a injunction based solely on the constitutional claim.
The district court reasoned that Congress’s power to pass the alienage restrictions in the Welfare Reform Act flows from the powers enumerated in the Naturalization Clause of the Constitution, which authorizes Congress to “establish an uniform Rule of Naturalization.” U.S. Const., art. I, § 8, cl. 4. The district court concluded that the Welfare Reform Act is not sufficiently uniform because it grants states some discretion with regard to the provision of state benefits to aliens. Accordingly, the district court found that strict scrutiny applied to Hawaii’s decision to treat COFA Residents differently from citizens and qualified aliens. Strict scrutiny requires the government to prove that any classifications based on protected characteristics “ ‘are narrowly tailored measures that further compelling governmental interests.’ ” Johnson v. California, 543 U.S. 499, 505, 125 S.Ct. 1141, 160 L.Ed.2d 949 (2005) (quoting Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 227, 115 S.Ct. 2097, 132 L.Ed.2d 158 (1995)). Applying strict scrutiny, the district court concluded that Hawaii had not identified *881any valid state interest advanced by the removal of COFA Residents from the existing state-funded benefit plan. The district court denied Hawaii’s motion to dismiss and granted a injunction blocking Hawaii from reducing benefits for COFA Residents.
The injunction standard is well known: “A plaintiff seeking a injunction must establish that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence of relief, that the balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d 249 (2008). Although we review the district court’s grant of injunc-tive relief for an abuse of discretion, Harris v. Bd. of Supervisors, 366 F.3d 754, 760 (9th Cir.2004), a court would necessarily abuse that discretion if it “ ‘based its ruling on an erroneous view of the law or on a clearly erroneous assessment of the evidence,’ ” Roe v. Anderson, 134 F.3d 1400, 1402 (9th Cir.1998) (quoting Cooter &amp; Gell v. Hartmarx Corp., 496 U.S. 384, 405, 110 S.Ct. 2447, 110 L.Ed.2d 359 (1990)). This is another way of saying that “interpretation of the underlying legal principles, however, is subject to de novo review.” Sw. Voter Registration Educ. Project v. Shelley, 344 F.3d 914, 918 (9th Cir.2003) (en banc) (per curiam).
Analysis
The Equal Protection Clause of the Fourteenth Amendment provides that “[n]o State shall ... deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const, amend. XIV, § 1. Accordingly, states must generally treat lawfully present aliens the same as citizens, and state classifications based on alienage are subject to strict scrutiny review. See In re Griffiths, 413 U.S. 717, 719-22, 93 S.Ct. 2851, 37 L.Ed.2d 910 (1973). In contrast, federal statutes regulating alien classifications are subject to the easier-to-satisfy rational-basis review. See Hampton v. Mow Sun Wong, 426 U.S. 88, 103, 96 S.Ct. 1895, 48 L.Ed.2d 495 (1976). This case presents a conundrum that does not fit neatly within these broad rules. Although Basic Health Hawaii is a state-funded program directed to a certain class of aliens, it is part of a larger, federal statutory scheme regulating benefits for aliens.
To understand the framework for resolving this case, it is helpful to start with the two key Supreme Court cases on benefits for aliens. In Graham v. Richardson, 403 U.S. 365, 367, 91 S.Ct. 1848, 29 L.Ed.2d 534 (1971), the Supreme Court considered an equal protection challenge to two state statutes that denied welfare benefits to resident aliens. One statute imposed a residency requirement to become eligible for benefits, and the other statute excluded aliens from benefits altogether. Id. at 367-69, 91 S.Ct. 1848. The Court emphasized that state classifications based on alienage are inherently suspect and subject to strict scrutiny, like classifications based on race or nationality. Id. at 372, 91 S.Ct. 1848. “Aliens as a class,” the Court determined, “are a prime example of a ‘discrete and insular’ minority for whom such heightened judicial solicitude is appropriate.” Id. (quoting United States v. Carolene Prods. Co., 304 U.S. 144, 153 n. 4, 58 S.Ct. 778, 82 L.Ed. 1234 (1938)). In the light of this searching judicial review, “a State’s desire to preserve limited welfare benefits for its own citizens is inadequate to justify ... making noncitizens ineligible.” Id. at 374, 91 S.Ct. 1848. The Court struck down both statutes as violations of the Equal Protection Clause. Id. at 376, 91 S.Ct. 1848. Continuing to apply strict scrutiny to state laws discriminating on the *882basis of alienage, the Court has repeatedly-struck down an array of state statutes denying aliens equal access to licenses, employment, or state benefits. See, e.g., Bernal v. Fainter, 467 U.S. 216, 217-18, 104 S.Ct. 2812, 81 L.Ed.2d 175 (1984); Nyquist v. Mauclet, 432 U.S. 1, 12, 97 S.Ct. 2120, 53 L.Ed.2d 63 (1977); Examining Bd. of Eng’rs, Architects &amp; Surveyors v. Flores de Otero, 426 U.S. 572, 601, 96 S.Ct. 2264, 49 L.Ed.2d 65 (1976); Sugarman v. Dougall, 413 U.S. 634, 643, 93 S.Ct. 2842, 37 L.Ed.2d 853 (1973).6
In the context of eligibility for the federal Medicare program, in Mathews v. Diaz, 426 U.S. 67, 82, 96 S.Ct. 1883, 48 L.Ed.2d 478 (1976), the Court considered the constitutionality of congressional distinctions on the basis of alienage. Because “the responsibility for regulating the relationship between the United States and our alien visitors has been committed to the political branches of the Federal Government,” the Court concluded that Congress may enact laws distinguishing between citizens and aliens so long as those laws are rationally related to a legitimate government interest. Id. at 81-82, 96 S.Ct. 1883 (concluding that the Constitution “dictate[s] a narrow standard of review of decisions made by the Congress or the President in the area of immigration”); see also Hampton, 426 U.S. at 103, 96 5.Ct. 1895 (holding that “[w]hen the Federal Government asserts an overriding national interest as justification for a discriminatory rule which would violate the Equal Protection Clause if adopted by a State, due process requires that there be a legitimate basis for presuming that the rule was actually intended to serve that interest”).
Although aliens are protected by the Due Process and Equal Protection Clauses, this protection does not prevent Congress from creating legitimate distinctions either between citizens and aliens or among categories of aliens and allocating benefits on that basis. Mathews, 426 U.S. at 78, 96 S.Ct. 1883 (explaining that “a legitimate distinction between citizens and aliens may justify attributes and benefits for one class not accorded to the other”). . The difference between state and federal distinctions based on alienage is the difference between the limits that the Fourteenth Amendment places on discrimination by states and the power the Constitution grants to the federal government over immigration. Id. at 84-85, 96 S.Ct. 1883; see also Nyquist, 432 U.S. at 7 n. 8, 97 S.Ct. 2120 (“Congress, as an aspect of its broad power over immigration and naturalization, enjoys rights to distinguish among aliens that are not shared by the States.”). The Court in Mathews concluded that, given the federal government’s extensive power over the terms of immigrants’ residence, “it is unquestionably reasonable for Congress to make an alien’s [benefit] eligibility depend on both the character and the duration of his residence.” 426 U.S. at 82-83, 96 S.Ct. 1883.
Recognizing that Graham and Mathews present pristine examples of the bookends on the power to impose alien classifications — a purely state law eligibility restriction in the case of Graham and a federal statute without state entanglements in the case of Mathews — it is fair to say that *883Basic Health Hawaii presents a hybrid case, in which a state is following a federal direction. This variation was foreshadowed, however, by Graham. 403 U.S. at 381-82, 91 S.Ct. 1848.
In its examination of Arizona’s residency requirement for alien eligibility for welfare benefits, the Court in Graham considered whether a federal statute prohibiting state requirements based on the length of citizenship, but not explicitly prohibiting requirements based on alienage, could be “read so as to authorize discriminatory treatment of aliens at the option of the States” and concluded that it did not. Id. at 382, 91 S.Ct. 1848. The Court addressed the issue of states following congressional direction only elliptically, suggesting that a federal law granting wide discretion to the states “to adopt divergent laws on the subject of citizenship requirements ... would appear to contravene [the] explicit constitutional requirement of uniformity” arising out of the Naturalization Clause. Id. Expanding on the reference to the uniformity requirement in Plyler v. Doe, 457 U.S. 202, 219 n. 19, 102 S.Ct. 2382, 72 L.Ed.2d 786 (1982), the Court explained: “if the Federal Government has by uniform rule prescribed what it believes to be appropriate standards for the treatment of an alien subclass, the States may, of course, follow the federal direction.”
Korab does not challenge directly the validity of the federal classifications in the Welfare Reform Act. Nor does he dispute Hawaii’s selective classification within the “discretionary benefits” category of the Act — COFA Residents and qualified aliens present in the United States for fewer than five years are eligible for Basic Health Hawaii; all other nonimmigrants and parolees are ineligible under Hawaii’s plan, even though they are included in the Act’s “discretionary benefits” group. (This latter group is not part of this suit.) Instead, Korab challenges the lack of parity in benefits COFA Residents receive through Basic Health Hawaii as compared to the benefits provided through Medicaid. As part of this argument, Korab essentially brings a backdoor challenge to the federal classifications, arguing that the state cannot provide differing levels of benefits through different programs because the uniformity requirement of the Naturalization Clause prohibits Congress from granting states any discretion in the immigration or alienage contexts. We begin with the federal classifications established by the Welfare Reform Act and then address the appropriate level of constitutional scrutiny applicable to Hawaii’s decision to exercise the discretion afforded it by the Act.
I. The Fedekal Classifications: A Uniform National Policy
The Supreme Court has consistently held that the federal government possesses extensive powers to regulate immigration and the conditions under which aliens remain in the United States. See Arizona v. United States, — U.S. —, 132 S.Ct. 2492, 2498, 183 L.Ed.2d 351 (2012) (“This authority [to regulate immigration and the status of aliens] rests, in part, on the National Government’s constitutional power to ‘establish an uniform Rule of Naturalization,’ U.S. Const., Art. I, § 8, cl. 4, and its inherent power as sovereign to control and conduct relations with foreign nations.... ” (citations omitted)). The reference to naturalization has been read broadly to mean federal control over the status of aliens, not just criteria for citizenship. Id. (“The Government of the United States has broad, undoubted power over the subject of immigration and the status of aliens.”); see also Takahashi v. Fish &amp; Game Comm’n, 334 U.S. 410, 419, 68 S.Ct. 1138, 92 L.Ed. 1478 (1948) (noting congressional power under the Naturaliza*884tion Clause to regulate the conduct of aliens).
In the Welfare Reform Act, Congress announced a “national policy with respect to welfare and immigration.” 8 U.S.C. § 1601. Congress determined that immigrant self-sufficiency was an element of U.S. immigration policy and that there was a compelling national interest in assuring both “that aliens be self-reliant” and that the availability of public benefits does not serve as an “incentive for illegal immigration.” Id. § 1601(5)-(6). To accomplish these objectives, the statute sets out a comprehensive set of eligibility requirements governing aliens’ access to both federal and state benefits. Federal benefits are, of course, strictly circumscribed by designated categories. Even for wholly state-funded benefits, the Act establishes three categories that states must follow: one category of aliens to whom states must provide all state benefits, a second category of aliens for whom states must not provide any state benefits, and a third category of aliens for whom Congress authorizes states to determine eligibility for state benefits. Id. §§ 1621-22. The limited discretion authorized for the third category, which includes COFA Residents, does not undermine the uniformity requirement of the Naturalization Clause'.
On the federal level, only the Tenth Circuit has considered this issue. Soskin v. Reinertson, 353 F.3d 1242, 1256-57 (10th Cir.2004). Like Hawaii, Colorado initially chose to provide wholly state-funded health insurance coverage to all aliens in the third category. Id. at 1246. When Colorado did an about-face in 2003 and dropped this coverage, Soskin sued, arguing that letting states determine benefit eligibility was unconstitutional because it was not a sufficiently uniform federal rule. Id.
Looking to the origin of the Naturalization Clause, the Tenth Circuit concluded that “the uniformity requirement in the Naturalization Clause is not undermined by the [Welfare Reform Act’s] grant of discretion to the states with respect to alien qualifications for Medicaid benefits.” Id. at 1257. The uniformity requirement was a response to the tensions that arose from the intersection of the Articles of Confederation’s Comity Clause and the states’ divergent naturalization laws, which allowed an alien ineligible for citizenship in one state to move to another state, obtain citizenship, and return to the original state as a citizen entitled to all of its privileges and immunities. See Gibbons v. Ogden, 22 U.S. 1, 36, 9 Wheat. 1, 6 L.Ed. 23 (1824); The Federalist No. 42 (James Madison). The court in Soskin determined that because “the choice by one state to grant or deny ... benefits to an alien does not require another state to follow suit,” the purpose of the uniformity requirement is not undermined by states’ discretion under the Welfare Reform Act. 353 F.3d at 1257.
We agree. Considering the Welfare Reform Act as a whole, it establishes a uniform federal structure for providing welfare benefits to distinct classes of aliens. The entire benefit scheme flows from these classifications, and a state’s limited discretion to implement a plan for a specified category of aliens does not defeat or undermine uniformity. In arguing to the contrary, the dissent ignores that “a state’s exercise of discretion can also effectuate national policy.” Id. at 1255. As the Tenth Circuit explained in Soskin,
When a state ... decides against optional coverage [for certain noncitizens under the Welfare Reform Act], it is addressing the Congressional concern (not just a parochial state concern) that “individual aliens not burden the public *885benefits system.” 8 U.S.C. § 1601(4). This may be bad policy, but it is Congressional policy; and we review it only to determine whether it is rational.
353 F.3d at 1255. We are not in accord with the dissent’s myopic view that the Welfare Reform Act establishes no federal direction and conclude that Hawaii's discretionary decision to deny coverage to COFA Residents effectuates Congress’s uniform national policy on the treatment of aliens in the welfare context.
This reading of the uniformity requirement finds an analog in the Supreme Court’s interpretation of the Bankruptcy Clause, which similarly calls for uniformity. See U.S. Const, art. I., § 8, cl. 4 (empowering Congress “[t]o establish an uniform Rule of Naturalization, and uniform Laws on the subject of Bankruptcies throughout the United States”). In Hanover National Bank v. Moyses, 186 U.S. 181, 22 S.Ct. 857, 46 L.Ed. 1113 (1902), the Court considered a challenge to the 1898 Bankruptcy Act on the ground that its incorporation of divergent state laws failed to “establish uniform laws on the subject of bankruptcies” and unconstitutionally “delegate[d] certain legislative powers to the several states.” Id. at 183, 22 S.Ct. 857. The Court held that the incorporation of state laws “is, in the constitutional sense, uniform throughout the United States” because the “general operation of the law is uniform although it may result in certain particulars differently in different states.” Id. at 190, 22 S.Ct. 857.
The principle that “uniformity does not require the elimination of any differences among the States” has equal traction here. Ry. Labor Execs.’ Ass’n v. Gibbons, 455 U.S. 457, 469, 102 S.Ct. 1169, 71 L.Ed.2d 335 (1982). As in the bankruptcy context, although the “particulars” are different in different states, the basic operation of the Welfare Reform Act is uniform throughout the United States.7 Stellwagen v. Clum, 245 U.S. 605, 613, 38 S.Ct. 215, 62 L.Ed. 507 (1918) (holding that bankruptcy law may be uniform and yet “may recognize the laws of the state in certain particulars, although such recognition may lead to different results in different states”). The overarching national policy and alienage classifications set out in the Welfare Reform Act have repeatedly been upheld by the federal courts on rational-basis review. See, e.g., Lewiss v. Thompson, 252 F.3d 567, 582-84 (2d Cir.2001) (upholding the alien-age classifications in the Welfare Reform Act); City of Chicago v. Shalala, 189 F.3d 598, 603-08 (7th Cir.1999) (same); see also Arizona, 132 S.Ct. at 2499 (“Federal law also authorizes States to deny noncitizens a range of public benefits_”).
II. The State Action: Hawaii Follows the Federal Policy and Direction
The logical corollary to the national policy that Congress set out in the Welfare *886Reform Act is that, where the federal program is constitutional, as it is here, states cannot be forced to replace the federal funding Congress has removed. See Pimentel v. Dreyfus, 670 F.3d 1096, 1109 (9th Cir.2012). We considered a similar situation in Sudomir v. McMahon, 767 F.2d 1456, 1457 (9th Cir.1985), where plaintiffs brought an equal protection challenge to California’s determination that a particular category of aliens was ineligible for benefits under the federal statute instructing states in the application of the cooperative federal-state Aid to Families with Dependent Children program. As we said in Sudomir, “[i]t would make no sense to say that Congress has plenary power in the area of immigration and naturalization and then hold that the Constitution impels the states to refrain from adhering to the federal guidelines.” Id. at 1466.
Like the plaintiffs in Sudomir, Korab argues, and the dissent agrees, that the state has a constitutional obligation to make up for the federal benefits that Congress took away from him. Putting this argument in practical funding terms, states would be compelled to provide wholly state-funded benefits equal to Medicaid to all aliens in the discretionary third category, thus effectively rendering meaningless the discretion Congress gave to the states in 8 U.S.C. § 1622(a). See Sudomir, 767 F.2d at 1466 (“To so hold would amount to compelling the states to adopt each and every more generous classification which, on its face, is not irrational.”). As the New York Court of Appeals put it in upholding a state program that provided partial benefits to aliens who were federally ineligible, the right to equal protection does not “require the State to remediate the effects of [the Welfare Reform Act].” Khrapunskiy v. Doar, 12 N.Y.3d 478, 881 N.Y.S.2d 377, 909 N.E.2d 70, 77 (2009); see also Finch v. Commonwealth Health Ins. Connector Auth., 459 Mass. 655, 946 N.E.2d 1262, 1286 (2011) (Gants, J. concurring in part and dissenting in part) (“It is inconsistent with Mathews to require the State to undo the effect of Congress’s decision and replace the funds that Congress, under its plenary power over aliens, determined it would not provide.”).
Congress has drawn the relevant alienage classifications, and Hawaii’s only action here is its decision regarding the funding it will provide to aliens in the third, discretionary category created by Congress — an expenditure decision. Kor-ab fails to offer any evidence that Hawai'i, in making that decision, has not closely “follow[ed] the federal direction” and adhered to the requirements prescribed by Congress in its provision of state benefits. Plyler, 457 U.S. at 219 n. 19, 102 S.Ct. 2382. Notably, Korab has not even alleged that the state expenditures for health insurance for aliens within the discretionary category created by Congress are less than the state expenditures for health insurance for others.8 Even assuming ar-*887guendo that Hawaii’s discretionary decision not to provide optional coverage for COFA Residents constitutes alienage-based discrimination, that decision, which is indisputably authorized by the Welfare Reform Act, is subject to rational-basis review. The posture of Korab’s constitutional challenge-essentially a complaint about state spending-coupled with the legitimacy of the federal statutory framework, leads to this conclusion.
The dissent urges a contrary result, seizing upon the Supreme Court’s statement in Graham that “Congress does not have the power to authorize the individual States to violate the Equal Protection Clause.” 408 U.S. at 382, 91 S.Ct. 1848. We acknowledge the rhetorical force of this proposition, but, like the Tenth Circuit, conclude that the “proposition is almost tautological.” Soskin, 353 F.3d at 1254. The constitutional question before us is not whether Congress may authorize Hawaii to violate the Equal Protection Clause but rather “what constitutes such a violation when Congress has (clearly) expressed its will regarding a matter relating to aliens,”9 as Congress has done through the Welfare Reform Act. Id. Our determination that rational-basis review applies to Hawaii’s conduct is consistent with Graham and the Supreme Court’s equal protection cases because Hawaii is merely following the federal direction set forth by Congress under the Welfare Reform Act. See Plyler, 457 U.S. at 219 n. 19, 102 S.Ct. 2382. At bottom, the dissent reaches the wrong conclusion because it asks the wrong question and invites a circuit split.10 Soskin, 353 F.3d at 1254-56.
*888Accordingly, we vacate the injunction and remand to the district court for further proceedings consistent with this opinion.11 See Doe v. Reed, 586 F.3d 671, 676 (9th Cir.2009) (reversing injunction ruling where the district court applied the incorrect level of scrutiny).
VACATED AND REMANDED.

. The Republic of the Marshall Islands, the Federated States of Micronesia, and the Republic of Palau have each entered into a Compact of Free Association ("COFA”) with the United States, which, among other things, allows their citizens to enter the United States and establish residence as a "nonimmigrant.” Compact of Free Association Act of 1985, Pub.L. No. 99-239, 99 Stat. 1770 (1986), amended by Compact of Free Association Amendments Act of 2003, Pub.L. No. 108-188, 117 Stat. 2720; see also 48 U.S.C. § 1901 (joint resolution approving the COFA).


. The Welfare Reform Act defines "[fjederal public benefit” in relevant part as "any retirement, welfare, health, disability, public or assisted housing, postsecondary education, food assistance, unemployment benefit, or any other similar benefit for which payments or assistance are provided to an individual, household, or family eligibility unit by an agency of the United States or by appropriated funds of the United States.” Id.§ 1611(c)(1)(B).


. With some exceptions, the Act requires qualified aliens to have been present in the *879United States for at least five years before they are eligible for any federally funded benefit. Id. § 1613(a)-(b).


. The Welfare Reform Act defines "[sjtate or local public benefit” in relevant part as “(A) any grant, contract, loan, professional license, or commercial license provided by an agency of a State or local government or by appropriated funds of a State or local government; and (B) any retirement, welfare, health, disability, public or assisted housing, postsec-ondary education, food assistance, unemployment benefit, or any other similar benefit for which payments or assistance are provided to an individual, household, or family eligibility unit by an agency of a State or local government or by appropriated funds of a State or local government.” Id. § 1621(c)(1).


. The Immigration and Nationality Act defines "nonimmigrant” as any alien who has been admitted pursuant to one of the various visas set out in 8 U.S.C. § 1101(a)(15). With some exceptions, these visas generally admit aliens only temporarily and for a specific purpose, such as tourist visas, student visas, transit visas, or specialized work visas. COFA Residents, however, are entitled to reside in the United States as nonimmigrants indefinitely. Although there is no provision in 8 U.S.C. § 1101(a)(15) for COFA Residents, the Compact expressly provides for their admission as "nonimmigrants,” without regard to the provisions of the Immigration and Nationality Act relating to labor certification and nonimmigrant visas. Compact of Free Association Act of 1985, Pub.L. No. 99-239 § 141, 99 Stat. 1770, 1804.


. One limited exception to the application of strict scrutiny to state alienage classifications is the "political function” exception, which applies rational-basis review to citizenship requirements that states enact for elective and nonelective positions whose operations go to the heart of a representative government. See Cabell v. Chavez-Salido, 454 U.S. 432, 437-41, 102 S.Ct. 735, 70 L.Ed.2d 677 (1982).


. In an effort to distinguish the Bankruptcy Clause from the Naturalization Clause, the dissent argues that the Equal Protection Clause places constitutional constraints on states that are not present in the bankruptcy context. This argument misunderstands the analogy to the Bankruptcy Clause. We reference the Bankruptcy Clause only to show that uniformity is not undermined where states adopt different paths in effectuating a larger federal scheme or policy. That the Naturalization Clause is and has historically been subject to constitutional constraints not applicable to the Bankruptcy Clause says nothing about the more relevant question of whether uniformity is undermined by the existence of differences among the states. In the context of both clauses, the answer to that question is no, and the dissent offers no controlling authority to the contrary. Like the Tenth Circuit in Soskin, we conclude that the discretion afforded to states under the Welfare Reform Act does not undermine the uniformity established under that statute. Soskin, 353 F.3d at 1257.


. At this stage of the proceedings, we harbor serious doubts that Korab has carried his initial burden to establish a claim of disparity vis-a-vis the state's actions. Under Medicaid, citizens and eligible aliens are covered under a plan funded by both federal and state funds. By contrast, Basic Health Hawai'i is funded solely by the state. Here, however, Korab has not claimed that COFA Residents are receiving less per capita state funding than citizens or qualified aliens. Finch, 946 N.E.2d at 1288 (Ganis, X, concurring in part and dissenting in part) (“[S]trict scrutiny is the appropriate standard of review to evaluate a State’s alienage classification only where the State's per capita expenditures for the plaintiff aliens are substantially less than the per capita amount contributed by the State for similarly situated Commonwealth Care participants. ...”). Nor has Korab offered any evidence that the state’s average expenditures on behalf of COFA Residents in Basic Health *887Hawai'i are less than the amount the state contributes for citizens and qualified aliens eligible for Medicaid. On this record, Hawaii “does nothing more than refuse to expend State monies to restore the Federal funds lost by Congress’s constitutional exercise of its plenary power." Id.; Hong Pham v. Starkowski, 300 Conn. 412, 16 A.3d 635, 646 (2011) (concluding that Connecticut’s elimination of state-funded health insurance for aliens merely implemented the Act’s restrictions and did not create any alienage-based classifications). Nevertheless, because we vacate the district court’s grant of the injunction on the ground that rational basis, rather than strict scrutiny, is the appropriate standard of scrutiny, we need not resolve this evidentiary question at this stage.


. The dissent that our reference to Congress's clearly expressed will demonstrates our “confusion as to whether this an equal protection or a preemption case.” Dissent at 908 n. 7. We are not confused. To determine the applicable level of constitutional scrutiny in this equal protection case, we ask whether Hawaii is following the federal direction, see Plyler, 457 U.S. at 219 n. 19, 102 S.Ct. 2382, which in turn, demands consideration of Congress’s intent in establishing a uniform federal policy through the Welfare Reform Act, Soskin, 353 F.3d at 1254-56. That Congress’s will is also the touchstone of preemption analysis does not render it irrelevant to the determination of the scrutiny required for our equal protection inquiry. See Plyler, 457 U.S. at 219 n. 19, 102 S.Ct. 2382; Sudomir, 767 F.2d at 1466.


. Beyond asking the wrong question, the dissent muddies its own analysis by continually shifting the target of its constitutional inquiry. On one hand, the dissent argues that “the state of Hawaii ... is ultimately responsible" for the “denial of equal benefits to COFA Residents,” Dissent at 904, and that we must subject "Hawaii’s actions” to strict scrutiny, Dissent at 905. On the other hand, the dissent acknowledges that Congress, through the Welfare Reform Act, "was giving states broad discretion to discriminate against aliens in the provision of welfare benefits” but concludes that Congress lacked the constitutional power to do so. Dissent at 909-10. So which is it? Does the dissent challenge the constitutionality of Hawaii's actions, Congress's, or both? The dissent’s own mixing and matching on this point underscores why Hawaii’s conduct should be viewed as part and parcel of the federal welfare scheme, a scheme that is not challenged by Korab and has been deemed constitutional. See, e.g., Lewis, 252 F.3d at 582-84; Shalala, 189 F.3d at 603-08.


. Judge Bybee has written a thoughtful and compelling concurrence urging the adoption of a preemption-based approach to alienage classifications. However, as Judge Bybee acknowledges, this fresh approach veers away from the controlling authority set forth in Graham and Mathews and goes where no circuit has gone. Concurrence at 901. It is therefore unsurprising that neither party has addressed preemption on appeal, and neither should we at this stage. Just as significantly, Judge Bybee’s preemption analysis — that the Hawai'i welfare program is not expressly or impliedly preempted nor does it violate Congress's dormant immigration power — sidesteps the ultimate constitutional question raised by Korab and briefed by both parties: namely, whether Hawaii’s action violates the Equal Protection Clause.

